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                                       #:2903


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9    UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 24-91-ODW

13             Plaintiff,
                                             NOTICE OF REASSIGNMENT OF
14                  v.                       CRIMINAL CASE

15   ALEXANDER SMIRNOV,

16             Defendant.

17

18        Plaintiff, United States of America, hereby advises the Court
19   that the above-captioned case has been reassigned to a new attorney
20   as follows:
21
                                 Name                 E-Mail Address
22     Previously Assigned      Derek E. Hines        derek.hines@usdoj.gov
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23
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24                              Michael Rigali        .gov
25                              Sean F. Mulryne       sean.mulryne@usdoj.gov

26
       Newly Assigned AUSA      David R. Friedman     david.friedman@usdoj.gov
27

28
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                                      #:2904


1         Please make all necessary changes to the Court’s Case

2    Management/Electronic Case Filing system to ensure that the newly

3    assigned AUSA is associated with this case and receives all e-mails

4    relating to filings in this case.

5

6    Dated: April 10, 2025               Respectfully submitted,

7                                        BILAL A. ESSAYLI
                                         United States Attorney
8
                                         LINDSEY GREER DOTSON
9                                        Assistant United States Attorney
                                         Chief, Criminal Division
10

11                                                  /s/
                                         DAVID R. FRIEDMAN
12                                       Assistant United States Attorney

13                                       Attorneys for Plaintiff
                                         UNITED STATES OF AMERICA
14

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